 

 

‘41: . 1 of 43
Case 1902596-LT 7 Filed.03/31/20 Entered 04/01/20 13:41:50 Doc22 Pg.10

i.

KIMBERLY S. WINICK, SBN 120363

 

 

 

KWinick@ClarkTrev.com 2020 4AR 3] PM 3: 19
2 || LESLIE R. HOROWITZ, SBN 97630 So ~
LHorowitz@ClarkTrev.com CLERK
3 || CLARK & TREVITHICK 1.3. BANKRUPTCY C1
445 South Figueroa Street, 18" Floor SO DIST. OF CALIF
4 || Los Angeles, California 90071
Telephone: (213) 629-5700
5 || Facsimile: (213) 624-944]
6 || Attorneys for Respondent Aura Financial LLC
fka Lendify Financial LLC
7
8
9 UNITED STATES BANKRUPTCY COURT
10 SOUTHERN DISTRICT OF CALIFORNIA VALS
VIA FAX
11
12 || In re CASE NO. 19-02556-LT7
=Z/G 13 || Bistermo Mora Salgado, Chapter 7
hel"
6 = 14 Debtors. OPPOSITION OF RESPONDENT AURA
O ® FINANCIAL LLC TO DEBTOR’S
~ 15 MOTION FOR SANCTIONS FOR
BISTERMO MORA SALGADO, VIOLATIONS OF THE AUTOMATIC
16 STAY AND DISCHARGE INJUNCTION;
Movant, MEMORANDUM OF POINTS AND
17 AUTHORITIES; AND SUPPORTING
VS. DECLARATIONS OF KIMBERLY S.
18 WINICK, RICARDO ARJONA, AND
LENDIFY, FINANCIAL, LLC., TUONG-VI TRAN FABER
19
Respondent. Date: — April 2, 2020
20 Time: 10:00 a.m.
Dept.: Room 129
21
Assigned to Hon. Laura S. Taylor
22
23 || TO THE HONORABLE LAURA S. TAYLOR, UNITED STATES BANKRUPTCY
24 || JUDGE, THE FORMER DEBTOR, AND HIS COUNSEL:
25 Aura Financial LLC, a licensed consumer lender and US Treasury-certified Community
26 || Development Financial Institution providing affordable, credit-building, small dollar loans to
27 || underserved communities in America (formerly known as Lendify Financial LLC, hereinafter
28 || referred to as “Aura” or “Lendify”), hereby opposes the pending motion for sanctions (the

2532902.1 (19112.001)

RESPONDENT AURA FINANCIAL’S OPPOSITION TO DEBTOR’S MOT FOR SANCTIONS FOR . |-
VIOLATIONS OF THE AUTOMATIC STAY — IS

Dome OVO Ce

 

 

 

 

a a ay a a ge

 

 
 

 

 

| Case 19+02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 2 of 43

pom

“Motion”) on the grounds that Aura never received notice of the pendency of the above chapter 7
case, nor of the discharge of Mr. Salgado, until F ebruary 2020, and thus did not at any time
commit a willful violation of the automatic stay, or of the discharge injunction issued in favor of
Mr. Salgado. The fact is that the notice of case and notice of discharge were both mailed to an
address that Aura had not occupied since December 2016, as evidenced by records filed in
December 2016 with both the California Secretary of State and the California Department of
Business Oversight. Doubtless the notice of petition mailed in April 2019 and the notice of

discharge mailed in August 2019 would have been returned to sender as undeliverable, any

eS FN DH RB WH WY

forwarding order having long expired. These notices did not reach Aura.

—_
So

Actual notice, the sine qua non of the Motion, did not occur. Debtor’s counsel, Stephan

—"
ph

Hoover, has been advised of this fact but elected to continue to prosecute this baseless Motion

—_
N

unless Aura agree to pay amounts including his alleged attorney’s fees of $25,000'. Moreover, the

—_
Ge

Salgado case was closed by order dated August 12, 2019, and Mr. Hoover has elected to prosecute

the Motion without first or even concurrently seeking to reopen the case.

clark
trevithick
n =

Aura accordingly urges the Court to deny the Motion, reprimand Mr. Hoover, and grant

a
N

such further relief as may be just and proper.

 

17 || I. STATEMENT OF FACTS
18 The Motion seeks sanctions against Aura on the basis that Aura knowingly and willfully
19 || violated the automatic stay and the discharge injunction. The predicate for such an action is that

N
So

the party in question had actual notice of the bankruptcy protections and acted against the debtor

N
—_

despite that knowledge. Aura, to the contrary, never received notice of the case.

N
N

A. The Debtor Mailed Notices to the Wrong Address

N
Ge

Aura does not dispute that the debtor’s creditor matrix identifies Lendify as a creditor, as

N
i

do the proofs of service of the notice of commencement of case and notice of discharge.

 

25 || However, they all identify the address of Lendify as 225 Bush Street, San Francisco, CA 94104.
26

a7 11 At his asserted lodestar rate of $315, this would represent an astronomical 79.37 hours devoted
28 || to this matter.

2532902.1 (19112.001) 2

RESPONDENT AURA FINANCIAL’S OPPOSITION TO DEBTOR’S MOT FOR SANCTIONS FOR
VIOLATIONS OF THE AUTOMATIC STAY

OSES

 

 

 

 

 

 
 

 

Case BpOeoOL TT Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 3 of 43

—_

This has not been Lendify/Aura’s address since December 2016, as evidenced by records
filed by Lendify/Aura with the Secretary of State and the Department of Business Oversight
[Declaration of Tuong-Vi Tran Faber (“Faber Decl.”), Exhibits 1 and 4], and does not even appear
on the Debtor’s loan documents [Faber Decl, Exhibits 2 and 3]. Mailing papers to Lendify/Aura
at 225 Bush Street did not provide notice of the automatic stay or discharge injunction to
Lendify/Aura. Lendify/Aura did not receive them. Moreover, because such mailings were made
more than 12 months after the change of address, the documents in question would not have been

forwarded to the current address. We expect the documents were returned to movant’s counsel,

eo FG ND HN kB WH WK

who failed to further research and update the creditor matrix with the correct address.

—
oO

[Declaration of Kimberly S. Winick (Winick Decl., ¥ 3.]

—_
—_

Notices to Lendify/Aura should have been addressed to Lendify/Aura’s then current

—
N

address at 333 Bush Street, floor 17, San Francisco, CA 94104. Each of the loan application

—
eo

disclosures delivered to Mr. Salgado in March 2018 [Faber Decl, Exhibit 2], at the time of

application for the loan, and the Truth-in-Lending Act disclosure and promissory note that Mr.

clark
trevithick

—"
nn

Salgado executed on March 2, 2018 [Faber Decl., Exhibit 3] reference Lendify/Aura’s address at

i
“N

333 Bush Street, floor 17, San Francisco, CA 94104.

—
“I

All official records also reflect that, at all times relevant to the Motion, mail meant to reach

—_
e

Lendify/Aura should have been addressed to 333 Bush Street. Each of the Secretary of State

—
\o

Statement of Information and the California Finance Lenders License Change of Address Form

N
oS

that Lendify/Aura filed December 2016 with the Secretary of State and the Department of

nN
—

Business Oversight, respectively, showed this address. [Faber Decl., Exhibits | and 4.] Similarly,

N
N

the notice of name change that was filed with the Department of Business Oversight in F ebruary

N
we

2019, when “Lendify” changed its legal name to “Aura,” identified the entity’s address as 333

N
>

Bush Street, San Francisco, CA 94104, as reflected in Aura’s revised California Finance Lender

N
Nn

license dated February 14, 2019 [Faber Decl., Exhibit 6.]. We note that the name change from

N
“N

“Lendify” to “Aura” was also filed with the California Secretary of State on February 4, 2019.

N
—I

[Faber Decl., Exhibit 5.]

N
Ce

2532902.1 (19112.001) 3

 

 

 

RESPONDENT AURA FINANCIAL’S OPPOSITION TO DEBTOR’S MOT FOR SANCTIONS FOR
VIOLATIONS OF THE AUTOMATIC STAY

cea ie ace ns i

 

 

 

 
 

 

 

| Case 19102556-LT7 Filed.03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 4 of 43

comet

B. Aura Had No Knowledge of the Case Prior to F ebruary 2020

When Aura filed its small claims complaint against Mr. Salgado on July 3, 2019, it had no
knowledge that Mr. Salgado was a debtor in a bankruptcy case. The small claims complaint was
served on Mr. Salgado, but neither Mr. Salgado nor his lawyer reached out to Aura to alert them
that Mr. Salgado had filed for a chapter 7 petition and that there was an automatic stay. Aura has
established procedures for monitoring and handling all bankruptcy-related notices concerning its
borrowers, and would have responded promptly to such outreach. [Declaration of Ricardo Arjona

(“Arjona Decl,”) 44.]

Ce FN DH Me Rh wR WK

Aura obtained the small claims judgment against Mr. Salgado in October 2019. There still

bh
So

was no outreach to Aura. [Id..] On or about February 18, 2020 Aura commenced the garnishment

bd
—_

of Mr. Salgado’s wages. [Faber Decl, { 11.] It appears that this occurred while the Motion was on

a
N

its way to Aura. Promptly upon receipt of the Motion, before receiving any garnished wages,

—_
Ow

Aura cancelled the garnishment procedure. [Id..] Mr. Salgado’s lawyers never contacted Aura

before filing the Motion. [Id.] For clarity, no wages were ever garnished from Mr. Salgado and

clark
trevithick

—
nn

Aura ceased all collections efforts in accordance with its bankruptcy-related procedures as soon as

—_
N

it became aware of the Motion and Mr. Salgado’s bankruptcy case.

i
a |

We further note that even in February 2020, service of the Motion on Aura was awkward

—_
e

at best. Aura received service through CT Corporation. [Faber Decl., Exhibit 7.] The face page

i
\o

of this document showed processing by CT Corporation on February 19, 2020 and appearance or

N
Se

answer by Aura due on April 2. Unless a reader were familiar with bankruptcy procedures, one

N
—_

might not recognize, on page 27 of the served document, notice that opposition should be filed 14

N
N

days before the April 2 date, which would have been March 19. Even if Aura had understood this

nN
Ge

to be the proper deadline to file the opposition, the March 17 issuance of the shelter in place order

N
~

in San Francisco County due to COVID-19 would have made compliance difficult. Aura

nN
Nn

respectfully requests the Court to excuse the delayed filing of this opposition brief.

nN
nN

The proof of service on the Motion indicates that the document also was mailed to

N
~

Lendify/Aura on February 14, 2020 at the 333 Bush Street address, from which Aura decamped in

Nn
oO

July 2019 and to Lendify/Aura at their current actual address, 303 2"4 Street, North Tower , Ste.
2532902.1 (19112.001) 4

 

 

RESPONDENT AURA FINANCIAL’S OPPOSITION TO DEBTOR’S MOT FOR SANCTIONS FOR
VIOLATIONS OF THE AUTOMATIC STAY

i Mea a a et

 

 

 

 
 

Case 19

NH Oo &e HB WN

“I

10
11
12
13
14

clark
trevithick

15
16
17
18
19
20
21
22
23
24
25
26
a7
28

 

 

 

102556-LT/ Filed_.03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 5 of 43

550, San Francisco, CA 94107. However, for reasons that are unknown, Aura has not received
either of these mailings, and was alerted to the current situation only by the delivery through CT
Corporation. [Faber Decl, 912; Arjona Decl, §5 and §6.]

Il. THERE IS NO BASIS TO SANCTION AURA

The Motion should be denied in its entirety. Section 362(k) of the Bankruptcy Code
provides in relevant part that: “an individual injured by any willful violation of a stay...shall
recover actual damages, including costs and attorneys’ fees, and, in appropriate circumstances,
they may recover punitive damages.” As stated in page 9 of the Motion, the predicate for a claim
for violation of the automatic stay (or the discharge injunction) is the offending party’s awareness
of the pendency of the bankruptcy case.

The Motion, to “establish” Aura’s awareness of movant’s case, relies on the concept that
“Mail that is properly addressed, stamped and deposited into the mails is presumed to be received
by the addressee.” Bucknum Moody v. R. Bucknum (In re Bucknum), 951 F2d 204,207 (9" Cir.
1991). In the instant case, mail was not properly addressed to Lendify/Aura, and cannot be
presumed received. Further, prior to February 2020, the employee responsible for receiving and
properly handling all bankruptcy-related mail for Lendify/Aura did not receive any of the
movant’s notices. Clearly, Aura did not willfully violate either the automatic stay or the discharge
injunction in this case.

Movant also has failed to provide that he has sustained any actual damages. The single
sentence recital of emotional distress is similarly inadequate to support any recovery. Further,
while his lawyers demand lodestar fees, to which they devote many pages of exhibit, they do not
specify how much time they actually dedicated to the Motion or any actual services rendered.
Because Movant has failed to establish the threshold element, that Aura even had notice of the
case, Aura refrains from addressing the Motion’s other shortcomings in detail at this time, but
requests leave of the Court to file a supplemental brief should further evidence and argument be

required.

2532902.1 (19112.001) 5

 

 

RESPONDENT AURA FINANCIAL’S OPPOSITION TO DEBTOR’S MOT FOR SANCTIONS FOR
VIOLATIONS OF THE AUTOMATIC STAY

 

a ea

 

 
 

 

 

| Case 19 02996-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 6 of 43

—_

III. CONCLUSION

 

Zz For the foregoing reasons, Aura respectfully requests that the Court deny the Motion with
3 || prejudice and grant such further relief as may be just and proper.
4
5 || DATED: March 30, 2020 CLARK & TREVITHICK
6
oS
q By: fe ee a
8 Kimberly S. Winick
Attorneys for Respondent Aura Financial LLC fka
9 Lendify Financial LLC
10
11
12

trevithick
N N N N N N N N N i i pk — — bot —_
oe YN DAN FF BW RK &= S CC we AB an me wW

2532902.1 (19112.001) 6

 

 

RESPONDENT AURA FINANCIAL’S OPPOSITION TO DEBTOR’S MOT FOR SANCTIONS FOR
VIOLATIONS OF THE AUTOMATIC STAY

I :=Y”C*S”Cé~CS7S

 

 

 

 
 

Case 19

eS FY DH RR Be DB om

pm pm mk mk
o nN = ©

clark
trevithick

15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

 

+O2556-LT7 Filed.03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 7 of 43

DECLARATION OF KIMBERLY S. WINICK

I, Kimberly S. Winick, declare as follows:

I I am an attorney duly admitted to practice before this Court. I am Of Counsel to
Clark & Trevithick, and am the lawyer principally responsible for representing Aura Financial
LLC (“Aura”) in this case.

2s I make this declaration on the basis of my personal knowledge and my review of
the documents maintained in the CM-ECF system with respect to this case, and I could and would
testify to the facts set forth herein if called as a witness. This declaration is made in support of
Aura’s Opposition to Debtor’s Motion for Sanctions for Violations of the Automatic Stay and
Discharge Injunction Against Lendify Financial, Llc A/k/a Aura Financial, LLC.

as I have been a business bankruptcy lawyer since 1985, and have represented many
debtors in bankruptcy. In my experience, it is not unusual for debtors to provide incorrect
addresses for their initial creditors’ matrix. Incorrectly addressed envelopes are returned to
debtor’s counsel, who then researches the addressee’s correct address, provides the corrected
information to the court to update the matrix, and uses the corrected address when thereafter
mailing notices. Such correction appears not to have occurred in this case. My client should not
be held accountable for such oversight.

4. In my experience sending mail, both personally and professionally, when mail is
sent to an old address, it may be forwarded to the intended recipient. Alternatively, it may be
returned to the sender with a new address, or with a statement that the forwarding order has
expired. On March 27, 2020, I conducted an internet search of post office practices. At the
official U.S. post office website, USPS.com I found a November 1, 2018 item regarding Mail
Forwarding Options. It provides that first class mail may be forwarded to a new address for up to
12 months after a permanent change of address notice is filed with the USPS. See
faq.usps.com/s/article/Mail-F orwarding-Options.

De On March 18, 2020, Aura contacted me regarding the Motion. After discovering
that the Debtor had not actually sent any case-related notices to Aura prior to 2020, and that Aura

had not received any such notices, I left a telephone message for Stephan Hoover advising him of
2532902.1 (19112.001) 7

 

 

RESPONDENT AURA FINANCIAL’S OPPOSITION TO DEBTOR’S MOT FOR SANCTIONS FOR
VIOLATIONS OF THE AUTOMATIC STAY

 

on GR ada

 

 
 

| Case 19

YY A on BR WH WY

So ©

10
11
12
13
14

clark
trevithick

15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

 

 

 

02556-LT7 Filed.03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 8 of 43

this key fact, and requesting that he withdraw the Motion. His email response included a demand
for $25,000 for attorney’s fees, although the Motion contains no statement as to the time he has
devoted to the Motion, and his “lodestar” statement (devoid of time or description of services
rendered) seeks payment at $315/hour. Has he really dedicated almost 80 hours to this matter?

6. Equally astonishingly, Mr. Hoover insisted that he had relied upon a credit bureau
to determine Aura’s mailing address, apparently not thinking to consult the actual loan documents
signed by his client. Had he done so, he would have mailed the April 30, 2019 notice of
commencement of case to 333 Bush Street, which was then Lendify/Aura’s actual address, and
Aura likely would have not filed the small claims complaint. Further, although Aura relocated to
its current offices at 303 2" Street in July 2019, while the case was pending, the post office likely
would have forwarded the August notice of discharge to the new address.

1s In my experience, when I believe a party is violating the Bankruptcy Code, such as
when a debtor is failing to pay rent, or a creditor is trying to collect pre-petition debt, I place a
phone call to the offending party or its counsel, as appropriate, before spending the time and
incurring the fees to draft papers. In most instances, a telephone call suffices to resolve the issue.

8. The following is a copy/paste reprint of the email I received from Mr. Hoover on
March 26, 2020 after 5:30 p.m.:

Hi Ms. Winick,

I believe you called with regard to representing Aura Financial in the above action. This is just to
respond to your call and allow for easier communication (due to the current pandemic my Office
hours have shifted dramatically to accommodate childcare needs for my family).

The address issue:

The address used for service (225 Bush St., San Francisco, CA 94104) was that reported by
Lendify to two of the credit bureaus when last reporting the claimed debts to each bureau 6n
March 31, 2019. Given that Aura Financial was reporting this information to third parties as the
address to be used with regard to the debt, it is a party admission outside of hearsay and would be
seen as a bit disingenuous that using that address allowed Aura to escape notices with regard to the
debt. If we reach a discovery phase, we will of course seek out any credit reports pulled before
Aura filed its state case to see if Aura was further aware of the bankruptcy and therefore had actual
notice.

Case reopening:

Case reopening is a ministerial act and is not required for a bankruptcy court to defend its own

orders - such as the discharge injunction. Judge Taylor's court does not require case reopening
prior to filing motions for sanctions for stay and discharge violations.

2532902.1 (19112.001) 8

RESPONDENT AURA FINANCIAL’S OPPOSITION TO DEBTOR’S MOT FOR SANCTIONS FOR
VIOLATIONS OF THE AUTOMATIC STAY

 

Sram =F a

 

 

 
 

 

 

Case 19}02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 9 of 43

1 || Failure to oppose:
The motion and notice was served on F ebruary 14, 2020. As it was done by mail, an additional 3
2 || days is added onto the 14 fora response under FRBP 9006. It is now over three weeks after
March 2, when opposition was due. LBR 9013-7(b)(1) requires all oppositions to be in writing
3 || and (b)(2) states a failure to object is consent to the motion before the court.
4 || I'd be more than willing to discuss settlement, including return of any funds which may have been
garnished, undoing the judgment against my client, and payment of $25,000 for attorneys fees and
5 || compensation to my client.
6 || Otherwise we will proceed with the hearing next week where I will ask for discovery to begin.
7 || Regards,
Stephan Hoover
8
9 || Stephan A. Hoover, Esq.
Law Office of Stephan A. Hoover
10 |] P.O. Box 723
Carlsbad, CA 92018
11 || Phone: (619) 500-4525
Fax: (760) 687-0013
12

9. Mr. Hoover’s refusal to back down in the face of facts has required my client and

_
Ge

me to spend the time and to incur the related fees to compile exhibits and prepare this opposition

clark
trevithick

 

 

15 || brief when a more sensible lawyer would have acquiesced to his error and sought to make his
16 || living on the back of a more legitimate case. From my receipt of his astonishing email, through
17 || the hearing on this matter, I will have spent at least 12 hours, at $625 per hour. Perhaps Mr.
18 || Hoover should compensate Aura at my lodestar rate.
19 I declare under penalty of perjury under the laws of the United States of America that the
20 || foregoing is true and correct.
21 Executed on this 30th day of March, 2020, at Los Angeles, California.
22
23 eo
24 Abpea ly FC
Kimberly S. Winick

25
26
27
28

2532902.1 (19112.001) 9

 

RESPONDENT AURA FINANCIAL’S OPPOSITION TO DEBTOR’S MOT FOR SANCTIONS FOR
VIOLATIONS OF THE AUTOMATIC STAY

A Oi Saas a SER ra

 

 

 

 
 

 

 

Case 19: N2556-LT7 Filed_03/31/20 Entered 04/01/20 e Doc 22 Pg. 10 of 43

1 DECLARATION OF RICARDO ARJONA
2 I, Ricardo Arjona, declare as follows:
3 1. I am the Service Desk Manager for Aura Financial Corporation, the parent
4 || company and Sole Member of Aura Financial LLC, formerly known as Lendify Financial LLC
5 || “Aura” or “Lendify”). I have been employed in this capacity since September 2016.
6 Di I make this declaration on the basis of my personal knowledge and my personal
7 || familiarity with and responsibility for procedures and practices of Aura with respect to
8 || bankruptcy-related notices, as well as my review of business records prepared and/or received and
9 || maintained by me and other Aura employees in the ordinary course and practice of their

10 || employment.

11 De If called as a witness, I could and would testify competently to the facts set forth

12 || herein. This declaration is made in support of Aura’s Opposition to Debtor’s Motion for

—"
Ow

Sanctions for Violations of the Automatic Stay and Discharge Injunction Against Lendify

Financial, Llc A/k/a Aura Financial, LLC.

clark
trevithick
a &

4. Aura is in the business of making loans to consumers. When consumers file

—
N

bankruptcy cases, notices are sent to Aura. | understand that these notices alert Aura to the

_
—

requirement that it suspend or cease collection efforts, and that failure to act can expose Aura to

18 || material liability. My department is responsible for ensuring that all such notices received by
19 || Aura are properly recorded and handled so that all collection efforts regarding the related customer
20 || account(s) are immediately suspended or ceased in accordance with Aura’s bankruptcy-related
21 || procedures.
22 5. Prior to the notice from CT about the Debtor’s Motion for Sanctions, my
23 || department had not seen or handled any notice to Aura (or Lendify) regarding a bankruptcy case
24 || involving Bistermu Moro Salgado or regarding the Motion.
25 || ///
26 || ///
27 || ///
28 |} ///

2532902. 1 (19112.001) 10

 

RESPONDENT AURA FINANCIAL’S OPPOSITION TO DEBTOR’S MOT FOR SANCTIONS FOR
VIOLATIONS OF THE AUTOMATIC STAY

is hea ae eae

 

 

 

 

 
 

 

 

Case 19H02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 11 of 43

 

1 I declare under penalty of perjury under the laws of the United States of America that the
2 || foregoing is true and correct.
3 Executed on this 30th day of March, 2020, at San Francisco, California.
4 oe
5
Ricardo Arjona
6
7
8
9
10
11
12

trevithick
N N N N N N N nN N —_ — —_ —_ ae — —
Co a | “WH mn os we N —_ oS oS CO | Nn mn ~ Ge

2532902.1 (19112.001) 11

 

 

RESPONDENT AURA FINANCIAL’S OPPOSITION TO DEBTOR’S MOT FOR SANCTIONS FOR
VIOLATIONS OF THE AUTOMATIC STAY

Sia ag gia ao sg eg ee

 

 

 

 
 

 

Case 19102556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 12 0f 43

 

1 DECLARATION OF TUONG-VI TRAN FABER

Zz

3 I, Tuong-Vi Tran Faber, declare as follows:

4 I, Since August 2019 I have been employed as a California Registered-in-House

5 || Counsel by Aura Financial Corporation, the parent company and Sole Member of Aura Financial
6 || LLC, formerly known as Lendify Financial LLC (“Aura” or “Lendify”).

7 os Tam making this declaration in support of the Opposition of Aura to the Debtor’s

8 || Motion for Sanctions for Violation of the Automatic Stay and Discharge Injunction in the case of
9 || Bistermo Mora Salgado. This declaration is based on my personal knowledge and on my review
10 || of documents received and or prepared and maintained by myself and other employees of Aura in
11 || the ordinary course of business and in accordance with the practices and procedures established by
12 || Aura.

13 3. Among other things, I am familiar with corporate compliance and regulatory

14 || documents that Aura must file and maintain in compliance with applicable laws.

clark
trevithick

15 4. Attached hereto as Exhibit | is a true and correct copy of the California Finance

16 || Lenders License Change of Address Form filed by Lendify, indicating that it was moving from

17 || 225 Bush Street, Suite 1840, San Francisco CA 94104 to 333 Bush Street, 17" floor, San

18 || Francisco CA 94104, effective December 30, 2016.

19 5. Attached hereto as Exhibit 2 is a true and correct copy of the loan application

20 || disclosures provided to Mr. Salgado at the time of his loan application in March 2018.

21 6. Attached hereto as Exhibit 3 is a true and correct copy of the Truth-in-Lending Act
22 || disclosure and promissory note signed by Mr. Salgado on March 2, 2018.

23 ts Attached hereto as Exhibit 4 is a true and correct copy of the Secretary of State

24 || Statement of Information filed by Lendify on December 15, 2016, showing its address at 333 Bush
25 || Street, 17" floor, San Francisco CA 94104.

26 8. Attached hereto as Exhibit 5 is a true and correct copy of the notice of name change
27 || recorded by the California Secretary of State on February 4, 2019.

28

2532902.1 (19112.001) 12

RESPONDENT AURA FINANCIAL’S OPPOSITION TO DEBTOR’S MOT FOR SANCTIONS FOR
VIOLATIONS OF THE AUTOMATIC STAY

Seg Gin a te np caer ap

 

 

 

 

 

 
 

Case 19

eS FN DH mH B® WHY BD wo

clark
trevithick
. & EEE

15
16
17
18
19
20
21
22
23
24
25
26
27
28

t

 

 

02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 13 of 43

2. Attached hereto as Exhibit 6 is a true and correct copy of Aura’s revised California
Finance Lender license received from the Department of Business Oversight, dated February 14,
2019, reflecting Aura’s new legal name and showing its address at 333 Bush Street, San
Francisco, CA 94104.

10. Attached hereto as Exhibit 7 is the Notice of Motion that Aura received through CT
Corporation. Based on the front page, we understood this to require an answer or appearance on
April 2, 2020.

II. Around February 18, 2020, unaware that Mr. Salgado had ever been a chapter 7
debtor or received a discharge months earlier, Aura commenced the garnishment of Mr. Salgado’s
wages. Promptly upon receipt of the Motion, before receiving any garnished wages, Aura
cancelled the garnishment procedure.

12. To the best of my knowledge, Mr. Salgado’s lawyers never contacted Aura at any
time before filing the Motion to alert Aura as to alleged violations of the Bankruptcy Code or
demand that they honor the discharge injunction.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed on this 30th day of March, 2020, at San Francisco, California.

Welt Zh

Tughg-Vi Tran Faber

2532902.1 (19112.001) 13

RESPONDENT AURA FINANCIAL’S OPPOSITION TO DEBTOR’S MOT FOR SANCTIONS FOR
VIOLATIONS OF THE AUTOMATIC STAY

 

 

I aa ac a peg prigetgpoo o

 

 

 
 

 

 

~ Case 19-02556-LT7 Filed.03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 14 of 43

EXHIBIT 1

PG. 14

 

 

 
 

 

 

04/01/20 13:41:50 Doc 22 Pg. 15 of 43

CALIFORNIA FINANCE LENDERS LICENSE
CHANGE OF ADDRESS F ORM

Case 19-02556-LT7 Filed_03/31/20 Entered

 

Financial Code Section 22153, subdivision (b), provides that if notice is not given at least 10 days prior to the change of a street address
of a place of b

usiness, as required by subdivision (a), or notice is not given at least 10 days prior to engaging in business at a new
location, as required by Sect

five hundred dollars ($500),

ion 22102, the commissioner may assess a civil or administrative penalty on the licensee not to exceed

*Your change of address request must be received by the Department 10 days prior to the date of your move or an
ini i i . If your change of address is for your principal or main location, you must submit a
rider from your surety bond company reflecting your new location. Your request cannot be processed without the submission of this

rider, Submit one completed form per location.

Name of Licensee: Len di ty * fi wncial Lf C

License No: 6 0S 4 t be NMLS ID (if applicable):

Provide the name, title, address, email address, and telephone number of the person to contact regarding this request. The amended
license will also be mailed to this person unless otherwise instructed. The name of the person must be a responsible officer or

compliance person from the main office of the company.

Attention: Dry den Ly ddle Leea| f Com gli ante ofA er
ech . O (Title)

33% bych S$ eof 13" Floor . 2an Frands@ CA 144 04

T and Street i tate ip. Code

ALTO TN kt com 410854 9 6g

—

(Email Address) (Telephone Number)

Change of address is for: [7 Main Office or Principal Location [J Branch

If main location, provide Surety Bond No.. A 465 B GC to 40 Bond Rider attached? ey Yes [J No
Current Address:;__ 2.5” by ch St reel Suite AKL 0
Sdn Frans CA D4 A 9h

Proposed New Address: $3 buc h Str et AF th Floor

San Franusty (fh 9404

“Effective Date of Change: De um by 30 , 104 £

**This Change of Address Form must be signed by an officer who has PREVIOUSLY completed and submitted a Statem

 

Identity and Questionnaire or Siled an MU2 on the Nationwide Mortgage Licensing System Registry. No other officer is authorized to

sign this document on behalf of the applicant,

Executed at: San frandcw San Franas to } 0 AA

 

 

 

 

(City, County, and State) 7 ( fr \Gignature of Declaranty**
Drude J. Li df le
_STyped Name of Declarant)
Date le comber 4% . L046 | enal q lomoliana OE coy
~~ XTitle of Declarant 1

PG. 15

a

 
 

 

‘41: . 16 of 43
Case 19-02556-LT7 Filed_03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg

The Hartford Hartford Plaza, Hartford, CT 06115

RIDER

 

Attached to and forming part of Bond # 14BSBGG4040

on behalf of Lendify Financial LLC

in favor of the Commissioner of Corporations of the State of California

and in the amount of Twenty-Five Thousand and no/100 Dollars ($25,000.00).
It is understood and agreed that effective December 9, 2016,

The following Principal Address Change is amended:

From: 225 Bush Street, Suite 1840
San Francisco, CA 94104

To: 333 Bush Street, 17" Floor
San Francisco, CA 94104

All other conditions and terms remain as originally written,

Signed, Sealed, and Dated December 9, 2016.

Hartford Fire Insurance Company

» _ChEM

Ian ). Campbell, Attorney-in-Faa’

Lendify Financial LLC

By:

 

The above endorsement is hereby agreed to and accepted:

 

 

AT
Lnsik! Tre
Nr dt Liddle Leal £ Compliany OFF cor

PG. 16

 

 
 

 

ed 04/01/20 13:41:50 Doc 22 Pg. 17 of 43

~ Case 19-02556-LT7 Filed 03/31/20 Enter

STATE OF OREGON,
County of Multnomah } 6

On December 9th, 2016 before me personally appeared __. 1an.J. Campbell

 

 

whose identity was established to my satisfaction, and who executed the foregoing instrument, acknowledging to me that the same was
executed freely and voluntarily,

IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed my official seal on the date first written above.

 

 

 

 

 

 

 

 

 

i, OFFICIAL STAMP Kuby la Prcuoy LA Alwar : Eehy {Cc k
fae 7} A KIMBERLY DAWN WILHELM-FABRYCKI Notary Public for Oregon
>“ NOTARY PUBLIC-OREGON | My commission expires .. December 1, 2019
; COMMISSION NO. 944893
MY COMMISSION EXPIRES DECEMBER 01, 2019
FORM No. 23 ~ ACKNOWLEDGMENT, INDIVIDUAL €s COPYREOHT sont STEVENS.WESS LAW PUBLISHEIG CO_ PORTLAND. OR $7304

 

PG. 17

 

 

 
 

 

| ‘41
~ Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:4

“

50 Doc 22 Pg. 18 of 43
Direct inquiries/Claims to:

THE HARTFORD

POWER OF ATTORNEY ont

Hartford, Connecticut 06155
email: bond.claims@thehartford.com
Call: 888-266-3488 | fax: 860-757-5835

252-700957

   
    

having their home office in Hartford, Connecticut (hereinafter collectively referred to as the “Companies’) do hereby make, constitute and appoint,
up to the amount of Unlimited °

Ian J. Campbell, Debra Y. Frabel, Gary P. McCann of PORTLAND, Oregon

 

pursuant to Resolution of the Boa
mechanically applied Signatures applied to

 

John Gray, Assistant Secretary M. Ross Fisher, Vice President

STATE OF CONN ECTICUT
; ss. Hartford
COUNTY OF HARTFO RD
On this 12th day of July, 2012, before me Personally came M. Ross Fisher, to me known, who being by me duly sworn, did depose and Say: that
he resides in the County of Hartford, State of Connecticut; that he is the Vice President of the Companies, the corporations described in and which executed
the above instrument; that he knows the seals of the said corporations; that the Seals affixed to the said instrument are such corporate seals; that they were
SO affixed by authority of the Boards of Directors of said corporations and that he signed his name thereto by like authority.

ram) 7
2 hens } Yard beensT~ Maynard

Kathleen T, Maynard
CERTIACATE Notary Public

My Commission Expires July 31, 2016
|, the undersigned, Vice President of the Companies, DO HEREBY CERTIFY that the above and foregoing is a true and Correct copy of the Power
of Attorney executed by said Companies, which is Still in full force effective as of = p 20
Signed and sealed at the City of Hartford. Ds CT IS BIL 4 '

08D

2

 

Lam fe

Kevin Heckman, Assistant Vice President
POA 2012

PG. 18

 

 

 
 

 

 

‘41: f 43
Case 19-02556-LT7 Filed.03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 190

 

 

Secretary of State
Statement of Information LLC-12
(Limited Liability Company)

 

 

 

IMPORTANT — Read instructions before completing this form.
Filing Fee - $20.00

Copy Fees — Face Page $1.00 & .50 for each attachment page;
Certification Fee - $5.00

 

This Space For Office Use Only

 

1. Limited Liability Company Name

 

Len di ty Finanaal Lic

2. 12-Digit Secretary of State File Number 3. State or Place of Organization (only if formed outside of California)
201319340114 Delaware

4. Business Addresses

 

 

 

 

 

 

 

 

 

a. Street Address of Principal ah Do not t h P.O. Box City (no abbreviations) ch Zip Code
333 bvsh Stret 4} Floor San frand sy DYAoY
b. Mailing Address of LLC, If different than Item 4a City (no abbreviations) State Zip Code
c. Street Address of California Office, if tem 4a is not in California - Do not list aP.O. Box City (no abbreviations) State Zip Code
CA

 

 

 

 

If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is an

6. Manager(s) or Member(s) entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC has
additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions),

a. First Name, if an individual - Do not complete Item 5b Middle Name Last Name Suffix

 Tnsiet "fre"
c. Address City (no abbreyi ions) Stat Zip Code
355 bvsh Strat 141 Floor San brand sto cAI 54% of

6. Agent for Service of item 6a and 6b: ifthe agent is an Individual, the agent must reside in California and Item 6a and 6b must be completed with the
Process agent's name and California address. Item 6c: Ifthe agent is a California Registered Corporate Agent, a current agent registration
Certificate must be on file with the California Secretary of State and Item 6c must be completed (leave Item 6a-6b blank).
a. California Agent's First Name (if agent is not a corporation) Middle Name Last Name Suffix

 

 

 

 

 

 

 

 

 

 

 

 

 

 

b. Street Address (if agent is not a corporation) - Do not list a P.O. Box City (no abbreviations) State
CA

Zip Code

 

 

 

 

©. California Registered Corporate gent's Name gent is a corporation) - Do not complete item 6a or 6b
o_—

| ( Yorati on Ys &m
7. Type of Business J

eo _ type of end ae F s ulate ps 1 the C A Dep ar Lin on f ; Ee By 5 nets Over x ig L a

4
8. Chief Executive Officer, if elected or appointed J

a. First Name / LasF iddie Name ast Name ix
Semel Gv lerre2 el | _|*
b. Address ity (no abbre: jations) State ip Code
253 bush Street att Flos An TanGsun OF 4

t
9. The Information contained herein, including any attachments, is true and correct.

Dec 13 Wott Dry dep J. Liddl. Leaal 2 fm ‘

Type of Print Name of Person Completing the Form UD Title 0

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LA
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)
Nimes r 1 (Se Separate Page)
Company: .
Address:
City/Statezip: J

 

 

 

PG. 19

 

 
 

 

 

~ Case 19-02556-LT7 Filed.03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 20 of 43

EXHIBIT 2

PG. 20

 

 

 
 

 

 

Case 19-02556-LT7 Filed.03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 21 0f 43
Lendify Financial LLC

333 Bush St FI 17, San Francisco, CA 94104
1 (888) 981-6357

Declaraciones informativas importantes sobre la solicitud, autorizaciones y politica de
privacidad

Lea esta informacion detenidamente y solicite un correo electrénico o una copla impresa a fin

de conservarla para futura referencia.

Declaraciones informativas sobre la solicitud

Usted esta solicitando un préstamo a Lendify Financial LLC (en lo sucesivo, “Lendify’).
Tenga en cuenta la siguiente informacién sobre el préstamo que esta solicitando:

Modelos de términos del préstamo: Los términos del préstamo que se indican a continuacién
son ejemplos de los plazos actuales de los préstamos que ofrece Lendify. Estos no son los
términos de su préstamo.

 

 

 

 

az Tasa
Monto del Duracion Cargos por |Porcentual] Monto del Pago | Cargo por
préstamo . financiamiento| Anual (cada 14 dias) | morosidad
prestamo tt ”
(“APR”)
$500 7 meses $97 59% $41 $14
$1,000 11 meses $266 51% $54 $14
$1,500 15 meses $477 44% $61 $14

 

 

 

 

 

 

 

 

° Usted pagara un cargo por pago atrasado si alguno de los componentes que
conforman su pago permanece pendiente de pago durante los 7 dias a partir de la
fecha de vencimiento del mismo.

° Si realiza pagos antes de la fecha de vencimiento, pagara menores Cargos por
financiamiento.

° Puede cancelar un préstamo a mas tardar al término del dia habil siguiente al dia en
que se otorgo el préstamo.

Consentimiento para realizar operaciones comerciales electronicas con Lendify y
Prospera Credit, LLC

Operaciones comerciales electrénicas. Usted otorga su consentimiento para efectuar la
transaccion de este préstamo de modo electrénico. Esto significa que acuerda firmar
electrénicamente los documentos del préstamo. Ademas, acuerda recibir todos los
documentos del préstamo, todas las declaraciones informativas requeridas por ley, avisos y
demas informacién en forma electrénica salvo que debamos entregarle una copia impresa.

PG. 21

 

 
 

 

 

Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 22 of 43

Recibira una copia impresa de las Declaraciones Informativas sobre la Verdad en los
Préstamos y la Politica de privacidad antes de firmar los documentos del préstamo. Puede
solicitar copias impresas de todos los acuerdos, declaraciones informativas y avisos sin
ningun tipo de costo.

Celebrando operaciones comerciales con Lendify y Prospera Credit, LLC. Usted
entiende que su solicitud de préstamo ha sido enviada a Lendify por Prospera Credit, LLC.
Lendify puede pagar una comisién a Prospera Credit, LLC por concepto de recomendacion si
Su Solicitud de préstamo resulta exitosa. Usted no Pagara ninguna comisién por dicha
recomendaci6on. S| SE APRUEBA SU PRESTAMO, LENDIFY SERA LA ENTIDAD
CREDITICIA (PRESTAMISTA). DEBERA PAGAR A LENDIFY LOS PAGOS VENCIDOS DE
SU PRESTAMO.

Reclamos. Lendify cuenta con una licencia y esta sujeta al examen de las leyes del estado
de California y, en virtud de las leyes estatales, esta sujeta a la supervisién reglamentaria por
parte del Departamento de Supervision de Empresas. Si desea presentar un reclamo
contra Lendify, debe comunicarse con el Departamento de Supervision de Empresas a
través de uno de los medios que se indican a continuacion:

® Correo postal en los EE.UU.: Department of Business Oversight, Attn: Consumer
Services, 1515 K Street, Suite 200, Sacramento, CA 95814.

° Teléfono: (866) 275-2677.

® Sitio en Internet: http:/Awww.dbo.ca.gov.

Recepcidén de los pagos por Prospera Credit, LLC. Usted puede realizar las pagos de su
préstamo en una sucursal de Prospera Credit, LLC. Los pagos realizados en una sucursal de
Prospera Credit, LLC seran remitidos a Lendify. No se le cobrara ningun tipo de Cargo por
realizar un pago en una sucursal de Prospera Credit, LLC 0 por remitir su pago a Lendify. Se
le entregara un recibo al realizar algun pago en una sucursal de Prospera Credit, LLC. El
recibo sera su comprobante de pago.

Transferencia de Datos Personales.E! cliente autoriza a Prospera Credit, LLC y Lendify la
transferencia entre ambos de datos personales e informacién financiera. El cliente entiende
que esta informacién puede incluir datos personales tales como su nombre, su fecha de
nacimiento, su numero de seguro social, e informacién financiera con respecto a las
actividades y transacciones con Prospera Credit, LLC 0 con Lendify. El cliente entiende que
toda la informacion que Lendify recabe del cliente sera tratada conforme a las disposiciones
de la Politica de Privacidad estipulada a continuacion.

Tasa Efectiva Anual Militar

Las leyes federales brindan protecciones importantes a los miembros de las Fuerzas
Armadas y a sus dependientes con respecto al otorgamiento de créditos para consumidores.
En general, el costo de un crédito para consumidor otorgado a un miembro de las Fuerzas
Armadas 0 a un dependiente Suyo no podra exceder una tasa porcentual anual del 36 por
ciento. Esta tasa debera incluir, segun corresponda a la cuenta o transaccién de crédito: Los
costos asociados con las primas de seguro de crédito; cargos por productos secundarios
vendidos en relacién con la transaccién de crédito; cualquier cargo por solicitud cobrado (

PG. 22

 

 
 

 

Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 23 of 43

distinto de ciertos cargos por solicitud correspondientes a cuentas o transacciones de crédito
especificadas); y todo cargo por participacién cobrado (distinto de ciertos Cargos por
participacion para una cuenta de tarjeta de crédito). Llamenos al 1 (888) 981-6357 para
obtener las declaraciones verbales de la declaracion informativa de la Military Lending Act (
Ley de Préstamos Militares) presentada arriba y una descripcién de la obligacion de pago.

Autorizaci6n para obtener mi informe de crédito

Usted autoriza a Lendify a obtener su informe de crédito y a verificar toda informacion
que proporcione en relacién con la revisién de su solicitud.

Usted da su autorizacién, y por la presente proporciona instrucciones escritas (de
conformidad con la Fair Credit Reporting Act [Ley de Informes Crediticios Justos]), para que
Lendify solicite y obtenga: (a) informacion sobre usted de diversas agencias federales,
estatales y otras, (b) informacion sobre usted mantenida en fuentes de registros publicos y
privados, (c) historiales de créditos o préstamos mantenidos por diversas agencias de
informes crediticios o de calificaciones Crediticias, (d) verificacién de sus ingresos, y (e)
informacién sobre obligaciones contractuales anteriores, si corresponde, asi como otras
experiencias pasadas, todo ello segun lo determine Lendify. Usted confirma y conviene en
que Lendify tiene permiso para utilizar esta informaci6n en relacién con la validacién de su
identidad y la evaluacion de su solicitud de un préstamo de Lendify.

Contacto con terceros

Usted autoriza a Lendify a comunicarse con las personas incluidas en su solicitud a fin de: (1
) verificar la informacién suministrada en la solicitud, (2) evaluar su solvencia crediticia, y (3)
cobranza.

Pago de la deuda y personas de contacto para cobro

Al crearse una cuenta, usted reconoce y acepta todas las disposiciones que se mencionan a
continuacién: (a) Lendify (o sus representantes, filiales y cesionarios) pueden controlar y
grabar conversaciones telefonicas relacionadas con su cuenta a fin de garantizar la calidad
de los servicios 0 por cualquier otro motivo; (b) presta su consentimiento expreso para que
Lendify (0 sus representantes, filiales y cesionarios) utilicen mensajes de voz artificiales/
grabados previamente, mensajes de texto y/o equipo de marcacién automatica al prestar
Servicios con respecto a su cuenta y al cobrar la misma tal como la ley lo autoriza; y (c)
acepta que Lendify (o sus representantes, filiales y cesionarios) puedan realizar estas
acciones usando el/los numero/s de teléfono que proporcioné a Lendify en esta solicitud de
crédito o que pueda suministrar a Lendify en el futuro, o que Lendify obtenga por otro medio,
incluso si el numero es un numero de teléfono celular y/o si el uso de dicho numero le
genera cargos.

Entiende que Lendify no le facturara ningun cargo por la recepcién o respuesta de mensajes
de texto.

Exclusion voluntaria. Acuerda que puede decidir no recibir mensajes de textos de Lendify a
través de la opcién de exclusién voluntaria (1) llamando a Lendify al 1 (888) 981-6357; 0 (2)

PG. 23

 

 

 
 

 

 

Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 24o0f 43

enviando un pedido de exclusién por escrito a Lendify a la siguiente direccién: 333 Bush St
FI17, San Francisco, CA 94104.

LENDIFY FINANCIAL LLC
AVISO DE POLITICA DE PRIVACIDAD PARA
CONSUMIDORES

Rev. 05/15

| patos PRE HACE LENDIFY CON SU INFORMACION PERSONAL?

Las instituciones financieras eligen de qué modo comparten su
informacién personal. Las leyes federales otorgan a los consumidores el
derecho de limitar parte de la informacién que se comparte, pero no toda.
Las leyes federales también nos exigen que le expliquemos cémo
recopilamos, compartimos y protegemos su informacién personal. Sirvase
leer este aviso con atencién para comprender qué hacemos.

 

 

 

 

 

Los distintos tipos de informacién personal que recopilamos y
compartimos dependen del producto o servicio que usted tiene con
nosotros. Esta informacion puede incluir:

° Numero de Seguro Social e ingresos.
° Saldos de cuentas, transacciones de cuentas e historial de pagos.
® Historial crediticio y puntuacién de crédito.

Cuando usted ya no es cliente nuestro, seguimos compartiendo su
informacion en la forma descrita en este aviso.

 

 

 

~Como? Todas las instituciones financieras deben compartir informacién
personal de sus clientes para llevar adelante sus operaciones
comerciales diarias. En la seccién a continuacién, presentamos las
razones por las cuales las instituciones financieras pueden compartir
informacién personal de sus clientes, las razones por las que Lendify
decide compartir informacién y si usted puede o no limitar que se
comparta esta informacion.

 

 

 

Razones por las que podemos compartir su gComparte Puede usted
informacion personal Lendify la __limitar que se

informacion comparta esta
7. informacion?

   

Para nuestras operaciones comerciales diarias: Si No
PG. 24

 

 
 

Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 25 of 43

por ejemplo, para procesar sus transacciones, mantener
su/s cuenta/s, responder a ordenes de tribunales e
investigaciones legales o informar a las agencias de
informes crediticios.

 

 

 

Para nuestros propios fines de comercializacion: Si No

para ofrecerle nuestros productos y servicios.

Para acciones de comercializaci6n conjunta con No No compartimos
otras instituciones financieras. informacion
Para las operaciones comerciales diarias de Si No

nuestras filiales:
informacién sobre sus transacciones y experiencias.

 

Para las operaciones comerciales diarias de No No compartimos
nuestras filiales: informacion
informacion sobre su solvencia crediticia.

 

 

 

 

 

Para que nuestras filiales le ofrezcan sus productos No No compartimos
informacion

Para que empresas no afiliadas le ofrezcan sus No No compartimos

productos informacion

 

   
  
  

 

¢Preguntas? Llame al 1 (888) 981-6357

 

 

 

Qué hacemos

   

~De qué modo Lendify | A fin de proteger su informacion personal del acceso y uso no
protege mi autorizados, empleamos medidas de seguridad que cumplen con
informacion personal? | las disposiciones de las leyes federales. Algunas de estas
medidas son elementos de proteccién en computadoras y
archivos y edificios asegurados.

 

~De qué modo Lendify | Recopilamos su informacion personal cuando usted, por ejemplo:
recopila mi
informacion personal? Solicita un préstamo.

Nos brinda informacion sobre sus ingresos.

Suministra informacién sobre su empleo.

Nos brinda su informaci6n de contacto.

Nos muestra su identificacién con fotografia otorgada por el

gobierno.

También recopilamos informaci6n personal sobre usted
consultando a terceros, por ejemplo, agencias de informes
crediticios, filiales u otras.

 

éPor qué no puedo Las leyes federales le otorgan el derecho de limitar que se
limitar que se comparta su informacion Unicamente en los siguientes casos:

 

 

 

PG. 25

 

 
 

 

Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 26 of 43

comparta toda mi e Informacion para fines comerciales cotidianos de las filiales

informacion? - informacion sobre su solvencia crediticia.

© Para que las filiales utilicen su informacién para ofrecerle
sus productos.

© Informacion para que empresas no afiliadas le ofrezcan sus
productos.

Las leyes estatales y las empresas individuales pueden otorgarle
otros derechos para limitar la cantidad de informacion que se
comparta su informacion.

 

 

 

 

Definiciones

Filiales Empresas relacionadas a través de una propiedad o control
comun. Pueden ser instituciones financieras y no financieras.

© WNuestras filiales incluyen empresas con una razon social o
identidad corporativa comun e instituciones financleras, por
ejemplo, Insikt, Inc.

 

Empresas no afiliadas | Empresas no relacionadas a través de una propiedad o control
comtn. Pueden ser instituciones financieras y no financieras.

© Lendify no comparte informacién con empresas no atiliadas
para que /e ofrezcan sus productos.

 

Comercializacion Un acuerdo formal entre instituciones financieras no afiliadas que
conjunta comercializan productos o servicios financieros de modo
conjunto.

© Lendify no realiza actividades de comercializacion corjunta.

Otra informacion importante

Lendify cuenta con una licencia y esta sujeta al control examen de las leyes del estado de
California y, en virtud de las leyes estatales, esta sujeta a la supervision reglamentaria por
parte del Departamento de Supervisién de Empresas. Todo consumidor que desee
presentar un reclamo contra Lendify, debe comunicarse con el Departamento de
Supervision de Empresas a través de uno de los medios que se indican a continuacion:
Correo postal de los EE. UU.: Department of Business Oversight, Attn: Consumer Services,
1515 K Street, Suite 200, Sacramento, CA 95814. Teléfono: (866) 275-2677. Sitio en
Internet: http:/Awww.dbo.ca.gov.

 

 

 

 

 

 

 

PG. 26

 

 
 

 

' Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 27 of 43

EXHIBIT 3

PG. 27

 
 

 

Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 28 of 43

 

& Calendario de Pagos &
Monto de Préstamo: $1,800.00 (a) Nombre: _ bistermu mora salgado
Cargo del Desembolso: +$90.00 (b) Numero de Préstamo: 131-328490-101
Cantidad Financiada (Capital): $1,890.00 (c) Teléfono: (619) 416-5696
co. é ._..,_. 2408 fairmount ave apt G
Tasa de Interés: 34.78% (d) Direccion: sandiego: CA 92105
Termino del Préstamo: 24 Meses
Servicio al Cliente: 1 (888) 981-6357
Fecha de Originacién 03/02/2018 Horas de Operacion: 6am - 9pm PST

Lun-Domingo

een

 

 

 

 

 

Numero de Pagos: 24 Cargo del Desembolso: $90.00 (b)
Frecuencia de Pagos: 25 de cada mes Interés Acumulado: +$730.52 (d)
Pago Regular: $111.00 Cargos por Financiamiento: $820.52 | (f)

Pago Final: $67.52 APR: 40.51%
Ira Fecha de Pago: 03/25/2018 Monto de Préstamo: $1,800.00 (a)

 

Fecha de Pago Final: 02/25/2020 Pago Total: | $2,620.52 (e)

Pago Total KYXOORTGN = ERS + BYAUEYAC))

Calendarion de Pagos Aplicacién de Pagos Balance del Préstamo

      

             
  

      

Numero de Pago FechadePago DiadeSemana Pago Capital Pagado + Interés Pagado Saldo después del Pago

Originado 03/02/2018 viernes $1,890.00
1 03/25/2018 domingo $111.00 = $69.58 + $41.42 $1,820.42
2 04/25/2018 miércoles $111.00 = $57.23 + $53.77 $1,763.19
3 05/25/2018 viernes $111.00 = $60.60 + $50.40 $1,702.59
4 06/25/2018 lunes $111.00 = $60.71 + $50.29 $1,641.88
5 07/25/2018 miércoles $111.00 = $64.06 + $46.94 $1,577.82
6 08/25/2018 sabado $111.00 = $64.39 + $46.61 $1,513.43
7 09/25/2018 martes $111.00 = $66.29 + $44.71 $1,447.14
8 10/25/2018 jueves $111.00 = $69.63 + $41.37 $1,377.51
9 11/25/2018 domingo $111.00 = $70.31 + $40.69 $1,307.20
10 12/25/2018 martes $111.00 = $73.63 + $37.37 $1,233.57
11 01/25/2019 viernes $111.00 = $74.56 + $36.44 $1,159.01
12 02/25/2019 lunes $111.00 = $76.76 + $34.24 $1,082.25
13 03/25/2019 lunes $111.00 = $82.12 + $28.88 $1,000.13
14 04/25/2019 jueves $111.00 = $81.46 + $29.54 $918.67
15 05/25/2019 sdbado $111.00 = $84.74 + $26.26 $833.93
16 06/25/2019 martes $111.00 = $86.37 + $24.63 $747.56
17 07/25/2019 jueves $111.00 = $89.63 + $21.37 $657.93
18 08/25/2019 domingo $111.00 = $91.57 + $19.43 $566.36
19 09/25/2019 miércoles $111.00 = $94.27 + $16.73 $472.09
20 10/25/2019 viernes $111.00 = $97.50 + $13.50 $374.59
21 11/25/2019 lunes $111.00 = $99.93 + $11.07 $274.66
22 12/25/2019 miércoles $111.00 = $103.15 + $7.85 $171.51
23 01/25/2020 sabado $111.00 = $105.93 + $5.07 $65.58
24 02/25/2020 martes $67.52 = $65.58 + $1.94 $0.00

 

 

 

 

 

PG. 28

 

 
 

  

Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 29 of 43

Lendify Financial LLC

333 Bush St Fl 17 San Francisco, CA 94104

1 (888) 981-6357
Num. licencia CFL 605 4766

Pagaré y Declaracion Informativa Sobre la erdad en Préstamos
Este Pagaré y Declaracién Informativa Sobre la Verdad en Préstamos (el “Pagaré”) se celebra en
la fecha de su firma de este Pagaré entre _ pj do (“usted”),
quién reside o puede ser contactado en 2408 fairmount ave apt G, san diego , California

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

92105 , y Lendify Financial LLC (“nosotros”).
Declaraciones Informativas Federales Sobre la _erdad en Préstamos
TASA CARGO POR Monto Total de
PORCENTUAL FINANCIAMIENTO | financiado pagos
ANUAL El monto en dolares El monto del crédito El monto que habra
El costo de su crédito | que el crédito le provisto a usted 0 en pagado después de haber
expresado como una costara. nombre suyo. efectuado todos los pagos
tasa anual. programados.
40.51 % $ 820.52 $ 1,800.00 $ 2,620.52
Programa de pagos:
Numero de pagos Monto del pago Cuando deben efectuarse los pagos
1 111.00 03/25/2018
22 111.00 25 de cada mes
1 67.52 02/25/2020

 

 

 

Pago adelantado: Si paga en forma adelantada, no tendra que pagar ningun tipo de penalizacion.

Cargo por morosidad: Usted conviene en que podremos aplicar un cargo por morosidad de
$14.00 sino hemos recibido su pago para el _7_.° dia después de la fecha de vencimiento de pago.

Consulte los documentos del contrato para obtener informacion adicional sobre la falta de pago, el
incumplimiento, cualquier liquidaci6n total requerida antes de la fecha programada y
los reembolsos y penalizaciones por pago adelantado.

 

 

 

Pormenorizacion del monto financiado

Cantidad entregada a usted directamente ..........sssssseesesseseeeeseeneneenssteneseenessenernenennences 1,800.00
Cantidad pagada a su préstamo existente con nosotros
(Numero de cuenta: S sagewenevaverecsonevensoossdsdavenedsuswuesecoreneeres +t: 0.00

Monto fimanciad: ............ccccccceesccesssesscceesseeeeseeceeeenseeceaeecssseensaeesenseensanaserasenseeesenes = 1,800.00
Cargo administrativo (Cargo por financiamiento pagado por adelantado) ............. + 90.00
Capital:......eccscsecossssssssssesscsssnessseseeseesscsssenseneesessscenensenasesssssssssescnscansnnanaanncgnesseenstsss = 1,890.00

 

 

Tasa de cargo convenida conforme a la California Financing La (Ley de Financiamiento de
California).
2.90 % mensual/ 34.78% anual sobre el saldo de capital no pagado.
Consulte abajo los términos y condiciones para obtener informacion adicional sobre el calculo de intereses.

 

 

 

 

Rescisién: Usted podra rescindir este préstamo si nos notifica su intencion de rescisién y devuelve el capital
que le adelantamos antes de que finalice el dia habil siguiente al dia en que se realizo el préstamo.

A continuacién se presentan los términos y condiciones del Pagaré. Sirvase leer
detenidamente todo el Pagare.

PG. 29

 

 
 

 

P DEP

1. Promesa de pago. A cambio de un préstamo que usted
recibira (el “Préstamo”), usted promete pagar $ 1,890.00
de capital, mas intereses y otros cargos, a la orden de Lendify
Financial LLC y sus sucesores y cesionarios. Usted pagara
estos importes en  dolares estadounidenses en
Prospera #31

0 a otra persona, si asi lo requerimos o si requiere cualquier
sucesor de intereses.

2. Cargo Administrativo. Se aplicara un Cargo Administrativo
de $_ 90.00 en el momento en que se le desembolsen los
fondos del Préstamo. El Cargo Administrativo sera parte del
capital del Préstamo y se indica como un Cargo por
Financiamiento Pagado por Adelantado en este Pagaré. El
Cargo Administrativo no es reembolsable en caso de una
liquidacién adelantada del préstamo. Se acumularan intereses
sobre el Cargo Administrativo en la forma descrita a
continuacion.

3, Intereses. Aplicaremos una tasa de interés simple diario
de 0.0953 % por dia (la “Tasa Diaria”). Para determinar
la Tasa Diaria, dividimos la tasa de interés anual del

34.78 _% por 365. Calculamos el interés multiplicando
la Tasa Diaria por el saldo de capital pendiente de pago.
Luego, multiplicamos el resultado por el numero de dias en
que el saldo de captial esta pendiente de pago. Los intereses
se cobraran a partir de la fecha del Préstamo hasta que se
liquide el capital mas todos los intereses y demas cargos. Si
alguna ley que se aplica a este Pagaré y que establece cargos
maximos sobre el Préstamo se interpreta definitivamente de
manera que los intereses u otros cargos del Préstamo
cobrados o por cobrar en relacion con este Préstamo excedan
los limites permitidos, entonces: (1) dicho cargo del Préstamo
se reducira en la cantidad necesaria para reducir el cargo al
limite permitido; y (ii) se le reembolsaran los importes ya
cobrados a usted que excedan los limites permitidos.
Podremos optar por realizarse este reembolso mediante una
reduccién del capital que nos adeuda en virtud de este Pagaré
o efectuando un pago directo a usted.

4. Liquidacién y Fecha de Vencimiento. Usted pagara el
capital y los intereses de este Préstamo en la forma mostrada
en el Programa de Pagos, que forma parte de las
Declaraciones Informativas Federales Sobre la Verdad en
Préstamos impresas arriba. Las Declaraciones Informativas
Federales Sobre la Verdad en Préstamos son parte de este
Pagaré. Usted entiende que si recibimos cualquiera de sus
pagos en fechas distintas a las fechas de vencimiento 0 si se
afiaden cargos adicionales al saldo de su Préstamo de
conformidad con las disposiciones de este Pagare, su pago
final real probablemente sera distinto del monto indicado
arriba y usted conviene en pagar el monto de pago real. Usted
efectuara los pagos en la forma descrita arriba hasta que haya
pagado todo el capital y los intereses, asi como los demas
cargos que adeude en virtud de este Pagaré. No obstante
cualquier otra disposicion en este Pagaré, usted pagara todos

Pe creek ee
Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 30 of 43

ST MO

los montos pendientes de pago el 02/25/2020 (la “Fecha
de Vencimiento”). Usted tiene el derecho de realizar pagos
en cualquier momento, por cualquier monto, antes de su
vencimiento. La liquidacién adelantada de su Préstamo
reducira sus costos de préstamo, al reducir la cantidad de
intereses que pagara. Este Préstamo no tiene penalizacion
por pago adelantado.

5. Pagos atrasados y cargos por morosidad. Usted conviene
en que podremos aplicar cargos por morosidad de
conformidad con las Declaraciones Informativas Federales
Sobre la Verdad en Préstamos. Usted entiende que pagara
mas intereses si no realiza un pago para la fecha de su
vencimiento.

6. Aplicacién de pagos. Los pagos se aplicaran primero a los
cargos por morosidad u otros cargos basados en cuotas y
comisiones que se sumen al Préstamo, luego a los intereses
acumulados pero no pagados y, por Ultimo, al capital.

7. Cargo por pago devuelto. Si un pago es devuelto sin
pagar, por la razon que sea, usted conviene en pagarnos un
cargo por pago devuelto de $_ 14.00 ‘

8. Incumplimiento y aceleracién; costos de cobranza. Usted
estar en estado de incumplimiento si no realiza un pago a
tiempo o si no cumple con los términos y condiciones de este
Pagaré. Cuando usted esté en estado de incumplimiento,
podremos exigir, sin necesidad de aviso o requerimiento, que
usted liquide de inmediato el monto total del Préstamo. (Esto
se conoce como “aceleracién”). Incluso si, cuando usted se
encuentra en estado de incumplimiento, no le exigimos el
pago total inmediato en la forma descrita arriba, seguiremos
teniendo el derecho de hacerlo en cualquier otro momento
que usted se encuentre en estado de incumplimiento. En la
medida permitida por las leyes vigentes, usted conviene en
pagar todos los costos de cobranza y ejecucion de este
Pagaré, incluso (sin limitacion) honorarios razonables de
abogados.

9. Ley vigente. Este Préstamo se realiza conforme a la
California Financing Law (Ley de Financiamiento de
California), Divisin 9 (a partir de la Seccidn 22000) del
Cédigo Financiero de California. Este Pagaré sera regido
por las leyes federales y las leyes del estado de California.

10. Sin renuncia. Usted conviene en que el hecho de que
no ejerzamos un derecho 0 recurso en virtud de este Pagaré
no constituye una renuncia a dicho derecho o recurso
ni acualquier otro derecho o recurso que nos surja
conforme a los términos y condiciones de este Pagaré.
Ningun ejercicio parcial por nuestra parte de un derecho o
recurso en virtud de este Contrato impedira el ejercicio
adicional o futuro de dicho derecho 0 el ejercicio de
cualquier otro recurso.

PG. 30
 

 

 

11. Interpretacién; contrapartes. Las ambigiiedades en este
Pagaré, de haberlas, no seran interpretadas estrictamente
contra el redactor del texto en cuestiOn, sino que seran
resueltas mediante la aplicacién de la interpretacién mas
razonable segiin las circunstancias, teniendo en plena
consideracion las intenciones de las partes en el momento del
contrato. Este Pagaré no sera interpretado en contra de
cualquiera de las partes por raz6n de su preparacion. Este
Pagaré podra ser ejecutado en contrapartes, cada una de las
cuales se considerara un documento original pero que en
conjunto se consideraran un solo instrumento. Si se juzga
que alguna parte de este Pagaré es inejecutable, seguira
vigente el resto de este Pagaré.

12. Avisos. Le enviaremos avisos a la direccién indicada en
la pagina 1 de este Pagaré. Usted entiende y conviene en que
tiene una responsabilidad conforme al Cédigo Civil de
California, Seccién 1788.21(a), de notificarnos de cualquier
cambio a su nombre, direccién o empleo dentro de un plazo
razonable después de que ocurra dicho cambio.

13. Declaraciones y garantias. Usted declara y nos garantiza
que (a) toda la informacion que nos ha provisto en su
solicitud de crédito es verdadera y correcta; (b) tiene la
capacidad legal de celebrar este Pagaré; y (c) ninguna
persona ha actuado como corredor de esta transaccion.

14. Informes crediticios. Usted conviene en que podremos
hacer consultas relacionadas con su historial y solvencia
crediticios, y que podremos enviar a las agencias de informes
crediticios informacién sobre su desempefio en virtud de este
Pagaré. Actualmente informamos a Experian. Tal como lo
exigen las leyes, por este conducto se le informa que podria
enviarse a una agencia de informes crediticios un informe
crediticio negativo que afecte su registro crediticio si usted
no cumple con los términos y condiciones de sus
obligaciones de crédito.

Podremos enviar informacion sobre su cuenta a agencias
de informes crediticios. Los pagos atrasados, los pagos
omitidos y otros incumplimientos en su cuenta podrian
reflejarse en su informe crediticio.

15. Medios electrénicos. Usted conviene en utilizar medios
electronicos para realizar esta transacciOn de préstamo. Esto
significa que usted conviene en recibir este Pagaré y todas

DECLARACION DE
Prospera Credit, LLC

INTERMEDIARIO: Su

solicitud de

‘Casé 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 31 of 43

las declaraciones informativas legalmente requeridas, los
avisos (incluso, sin limitacién, avisos de privacidad) y la
demas informacién en formato electrénico, y en utilizar una
firma electronica para celebrar este acuerdo.

16. Emisién de registro transferible.

A. Usted declara de manera expresa que ha firmado este
Pagaré creado en forma electronica (el “Pagaré Electronico”)
con una firma electrénica. Al hacer esto, usted indica que
conviene en (i) los términos y condiciones de este Pagaré
Electrénico, (ii) que este Pagaré Electronico podra ser
Autenticado, Almacenado y Transmitido por Medios
Electrénicos, y que sera un original valido para todos los
fines legales, tal como se establece en la Ley de
Transacciones Electrénicas Uniformes (“UETA”, Uniform
Electronic Transactions Act), la Ley de Firmas Electrénicas
en Comercio Global y Nacional (“E-SIGN”, Electronic
Signatures in Global and National Commerce Act), o ambas,
segin corresponda, y (iii) se considerara un Registro
Transferible para los fines de la UETA.

B. Los términos y frases a continuacién se definen como
sigue: (i) “Autenticado, Almacenado y Transmitido por
Medios Electrénicos” significa que este Pagaré Electrénico
sera identificado como el Pagaré que usted firmé, guardo y
envié mediante tecnologia eléctrica, digital, inalambrica o
similar, y (ii) “Registro Transferible” significa un registro
que: (a) seria un pagaré conforme al Articulo 3 del Codigo
Comercial Uniforme si el registro electronico estuviera por
escrito y (b) usted, como emisor, ha convenido en que es un
Registro Transferible.

17. Cudndo se realiza el Préstamo. E| Préstamo evidenciado
por este Pagaré se realiza cuando usted firme
electronicamente este Pagaré y nosotros aceptemos este
Pagaré. Usted entiende que la fecha en la que realmente
podra disponer de los fondos del Préstamo dependera de la
opcién de desembolso de los fondos del Préstamo que usted
seleccione, y usted entiende que esta fecha podria ser
posterior a la fecha en la que se realice este Préstamo.
Asimismo, usted entiende que todos los cargos por
financiamiento y demas términos y condiciones asociados
con este Préstamo, incluso, sin limitacion, el programa de
pago, se basaran en la fecha en que se realice este Préstamo.

préstamo a sido remitida a nosotros por

 

Podremos pagar una comisiOn a
Prospera Credit, LLC

 

por concepto de recomendacién si su solicitud de préstamo resulta exitosa. SI USTED ES APROBADO PARA EL
PRESTAMO, LENDIFY FINANCIAL LLC SE CONVERTIRA EN SU PRESTAMISTA Y USTED ESTABLECERA
UNA RELACION CON LENDIFY FINANCIAL LLC. Si tiene preguntas acerca de su préstamo, ya sea ahora 0 en el futuro,

debera dirigirlas a Lendify Financial LLC (1) llamando al 1 (888) 981-6357

; o (2) enviando sus preguntas escritas por

correo a 333 Bush St Fl 17 San Francisco, CA 94104. Si desea presentar un queja sobre

Prospera Credit, LLC

 

o Lendify Financial LLC en relacién con esta transaccion

de préstamo, podra comunicarme con el Departamento de

Supervision Comercial al + 1-866-275-2677, 0 presentar su queja por Internet en www.dbo.ca.gov.

PG. 31
 

 

Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 32 of 43

Al firmar abajo, usted confirma que (1) ha leido y recibido una copia de este Pagaré y Declaraci6n
Informativa Sobre la Verdad en Préstamos; (2) conviene en cumplir con los términos y condiciones de este
Pagaré y Declaracién Informativa Sobre la Verdad en Préstamos; (3) ha leido y recibido una copia escrita
del programa de educacién crediticia; (4) ninguna persona ha actuado como corredor en relacién con este
Pagaré y Declaracién Informativa Sobre la Verdad en Préstamos; y (5) no existe ningun otro acuerdo 0
promesa verbal o escrito entre usted y nosotros.

 

Em » 03/02/2018

Firma del prestatario Fecha

bistermu mora salgado
Nombre del prestatario

Aceptado por Lendify Financial LLC

Por: Cl Se £ 7 Fecha: 03/02/2018
Nomb sequest Vr Epic James Gutierrez, CEO

ESTE PRESTAMO ES REALIZADO POR LENDIFY FINANCIAL LLC CONFORME A UNA
LICENCIA EN VIRTUD DE LA LEY DE FINANCIAMIENTO DE CALIFORNIA. DICHA
LICENCIA ES ADMINISTRADA POR EL DEPARTAMENTO DE SUPERVISION COMERCIAL DE

CALIFORNIA.

PARA OBTENER INFORMACION, COMUNIQUESE CON EL DEPARTAMENTO DE
SUPERVISION COMERCIAL DEL ESTADO DE CALIFORNIA.

Puede comunicarse con el Departamento de Supervision Comercial al +1-866-275-2677 0 en
www.dbo.ca.gov.

4 PG. 32
Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 33 of 43

 

 

EXHIBIT 4

PG. 33

 

 
‘Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 34 of 43

: ® @ 16-511527

 

 

 

 

 

Secretary of State
Statement of Information LLC-12 FILED
(Limited Liability Company) AT Secretary of State
State of California
IMPORTANT — Read instructions before completing this form. DEC t J 2016

Filing Fee - $20.00

Copy Fees - Face Page $1.00 & .50 for each attachment page;
Certification Fee - $5.00 N
, This Space For Office Use Only

 

 

1, Limited Liability Company Name

 

Len di fu Finan aal LLC
2. 12-Digit Secretary of State File Number J 3. State or Place of Organization (only if formed outside of California)

104349310119 Delaware

4, Business Addresses

 

 

 

 

 

 

 

a. Street Address of Principal ek Do not ayy P.O. Box City (no abbreviations) ch Zip Code
333 bvsh Street 14+™ Hoor San (Und so Ch | 9 4A
b. Mailing Address of LLC, if different than Item 4a City (no abbreviations) State Zip Code
c. Street Address of Callfornta Office, if {tem 4a is not in California - Do not list a P.O. Box City (no abbreviations) State Zip Code
CA

 

 

 

 

If no managers have been appointed or elected, provide the name and address of each member. At least one name and address

must be listed, {f the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is an

5. Manager(s) or Member(s) entity, complete Items 5b and 5c (leave Item Sa blank). Note: The LLC cannot serve as its own manager or member. If the LLC has
additional managers/members, enter the name(s) and addresses on Form LLC-12A (See instructions).

a. First Name, if an individual - Do not complete Item Sb Middle Name Last Name Suffix

 

 

 

b. Entity wt notcomplete Item Sa

Tnsi

 

 

 

 

 

 

 

 

Cu
c. Address City (no abbreysations) ch Zip Code
453 bush Strat 141 Floor San tran sve ch 54404
; item 6a and 6b: {f the agent is an individual, the agent must reside in California and Item 6a and 6b must be completed with the
A nt for ga : Te . ae
. pgent” Service of agent's name and California address. Item 6c: If the agent is a California Registered Corporate Agent, a current agent registration
certificate must be on file with the California Secretary of State and Item 6c must be completed (leave Item 6a-6b blank).
a. California Agent's First Name (if agent is not a corporation) Middle Name Last Name Suffix
b. Street Address (if agent is not a corporation) - Do not list a P.O. Box City (no abbreviations) State Zip Code

 

 

 

CA

 

 

 

 

c. California Registered Corporate Agent's Name (ifagent is a corporation) — Do not complete item 6a or 6b fo O\ oly
-_
CT Wf poration y stem Ud

7. Type of Business

 

 

a. Describe the type of business or services of the Limjted {ability Compa

Fj er a the Cf Department cf Business Over sight _|

8. Chief Executive Officer, if elected or appointed /

a. First Name / Las Middle Name ast Name uffix
Fames verre? Michael “ — 1

b. Address (no abbreyjations) State ip Code
ASE bush Street 44 Aloor Can. (Yan Gi sta 4 of |

9, The Information contained herein, including any attachments, is true and correct. 9 L f LL,

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| . -
Dec 13,046 Dru den )- iddle Leaal & Comoliana
Date ‘ Type gf Print Name of Person Completing the Form U Title) Ha or \Sidnature
Return Address (Optional) (For communication from the Secretary of State related fo this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)
Name: [ | (Se Separate page)
Company:

Address:
City/State/Zip: L J

 

 

 

PG. 34

 
Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 35 of 43

EXHIBIT 5

PG. 35

 

 

 
 

 

"Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 36 of 43

. ‘
- A

 

 

 

 

 

Secretary of State ‘ LLC-6

Foreign Limited Liability

Company (LLC)

Name Change Amendment FILED h ey

/, ‘t
, Secretary of State“ K

IMPORTANT — Read instructions before completing this form. State of Califomia
Must be submitted with a current certificate evidencing the name change issued by
the government agency where the LLC was formed. See instructions. FER 0-4 2019
Filing Fee —- $30.00
Copy Fees — First page $1.00; each attachment page $0.50;

Certification Fee - $5.00
Note: You must file a Statement of Information (Form LLC-12) to change the LLC's
business address(es), or to change the name or address of the LLC's agent for
service of process. Statements of Information (Poan LLC-12) can be filed online at } Cry
bizfile.sos.ca.gov. Above Space For Office Use Only

 

 

1. LLC Exact Name Used in California (Enter the name used in Califomia exactly as listed on the records of the California Secretary of State.)

 

Lendify Financial LLC

 

2. LLC 12-Digit (File) Entity Number (Enter the exact 12-digit Entity (File) Number issued by the California Secretary of State.)

201319310219

3. New LLC Name in the State, Country, or Other Place of LLC Formation (if the LLC changed its name in the jurisdiction of
formation, list the new LLC name as listed on your atiached certificate evidencing the name change.)

 

 

 

Aura Financia} LLC

 

4. California Alternate Name, if Required (See instructions - Complete either 4a, 4b, OR 4c)

 

4a. List an altemate name to be used in Califomia if: (1) the LLC name in Item 3 does not comply with California naming requirements or
(2) you only are filing this form to change an existing alternate name used in California. List the alternate name exactly as it is to
appear on the records of the Califomia Secretary of State.

 

4b. Check this box if you completed Item 3, above and if applicable. If you check this box, do not complete Item 4a above or 4c below.

[_]this LLC registered in California before January 1, 2014; currently transacts intrastate business in California
under the alternate name listed in Item 1 above; and upon this filing, will continue to transact intrastate business in
California under the alternate name listed in Item 1 above.

 

4c. If you check this box, do not complete Item 4a or 4b above.
Cr Check this box if you are relinquishing the California altemate name.

 

 

 

Signature

_ By signing, | certify that the information is true and correct and that | am authorized to sign on behaif of the foreign LLC.
The attachments, if any, attached hereto are incorporated herein by this reference.

Daniel Sanford
Signature Type or Print Name

 

LLO-6 (REV 11/2017) 2017 Califomia Secretary of State
pets, bizfile.sos.ca.gov

PG. 36

 

 
 

Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 37 of 43

so *
e+ &

 

Delaware -

The First State

 

I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF
DELAWARE, DO HEREBY CERTIFY THAT THE SAID “LENDIFY FINANCIAL
LLC”, FILED A CERTIFICATE OF AMENDMENT, CHANGING ITS NAME TO
“AURA FINANCIAL LLC” ON THE THIRTY-FIRST DAY OF JANUARY, A.D.
2019, AT 2:25 O’CLOCK P.M.

AND I DO HEREBY FURTHER CERTIFY THAT THE EFFECTIVE DATE OF
THE AFORESAID CERTIFICATE OF AMENDMENT IS THE FOURTH DAY OF

FEBRUARY, A.D. 2019 AT 9 O'CLOCK A.M.

  
  

dotirny Wi, Butiock,

Authentication: 202192844
Date: 02-04-19

5299983 8320
SR# 20190694672

You may verify this certificate online at corp.delaware.gov/authver.shtm!

 

OPOK3 19310219 PG. 37

 

 
| Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 38 of 43

EXHIBIT 6

PG. 38

 

 

 
Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 39 of 43

THIS LICENSE MUST BE CONSPICUOUSLY POSTED AT Loca HEREIN PROVIDED.

Department of Business Oversight
State of California

License

FINANCE LENDER - AMENDED
CALIFORNIA FINANCING LAW

File No: 605 4766

LENDIFY FINANCIAL LLC

THE LICENSE TO ACT AS CALIFORNIA FINANCE LENDER HERETOFORE
ISSUED TO THE ABOVE NAMED LIMITED LIABILITY COMPANY ON MARCH 8, 2017,
1S HEREBY AMENDED TO READ AS FOLLOWS:

PURSUANT TO, AND IN COMPLIANCE WITH, THE CALIFORNIA FINANCING
LAW:

I, THE UNDERSIGNED, AS COMMISSIONER OF BUSINESS OVERSIGHT OF
THE STATE OF CALIFORNIA, DO HEREBY ISSUE THIS LICENSE TO:

AURA FINANCIAL LLC

ORGANIZED MARCH 20, 2013, INTHE STATE OF DELAWARE TO ENGAGE
IN THE BUSINESS OF “FINANCE LENDER” AS DEFINED IN SAID LAW, AT THE
FOLLOWING LOCATION:

333 BUSH STREET, 17''' FLOOR
SAN FRANCISCO, CALIFORNIA 94104

TO CONTINUE IN EFFECT UNTIL SURRENDERED, SUSPENDED, OR
REVOKED AS PROVIDED BY LAW.

IN WITNESS WHEREOF, I HAVE HEREUNTO SET MY HAND AND AFFIXED
MY OFFICIAL SEAL ON THE DATE APPEARING BELOW.

Date: February 14, 2019 . JAN LYNN OWEN

Commissiones of Business versie 4
on WA
B

CHARLES AGBONKPOLOR
Special Administrator
California Financing Law

    
 

 

 

PG. 39

 

 
Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 40 of 43

Department of Business Oversight
Date February 14, 2019
Page 2

Questions regarding the use of your license can be directed to a CFL Licensing Specialist who can
be reached by calling the number shown at the bottom of this page.

Jan Lynn Owen
Commissioner
Department of Business Oversight

By
SubhéndraSingh

Licensing Specialist

(213) 576-7663
Subhendra.singh@dbo.ca.gov
Department of Business Oversight
320 W 4" Street, Suite 750

Los Angeles, CA 90013

Effective October 4, 2017, the name of the “California Finance Lenders Law” changed to the
“California Financing Law.” (Assem. Bill No. 1284 (2017-2018 Reg. Sess.) § 4.) For purposes of this
document, a reference to the California Financing Law means the California Finance Lenders Law
before October 4, 2017 and the California Financing Law on and after that date. (Cal. Fin. Code, §
22000.)

 

PG. 40

 

 
   
    

Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 41 of 43
|

EXHIBIT 7

 
 

' Case 19-02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 42 of 43

‘£3. CT Corporation

Service of Process

 

Transmittal
02/19/2020
CT Log Number 537225952
TO: DRYDEN LIDDLE
AURA FINANCIAL CORPORATION
303 2ND ST STE 550
SAN FRANCISCO, CA 94107-1366
RE: Process Served in California

FoR: __Lendify Financial LLC (Former Name) (Domestic State: DE)
Aura Financial LLC (True Name)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:
DOCUMENT(S) SERVED:

COURTI/AGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:

DATE AND HOUR OF SERVICE:

JURISDICTION SERVED:

APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

For Questions:

Bistermu Moro Salgado, Debtor /Movant vs. Lendify Financial LLC, Respondent
Motion, Declarations, Request, Exhibit(s)

Southern District of California - U.S. Bankruptcy Court, CA
Bankruptcy Case # 1902556LT7
Adversary Case # None Specified

Bankruptcy Litigation - Chapter 7 - Motion for Sanctions for Violation of the
Automatic Stay

C T Corporation System, Los Angeles, CA

By Regular Mail on 02/19/2020 postmarked on 02/14/2020
California

04/02/2020 at 10:00 a.m.

Stephen A. Hooves

Law Office of Stephen A. Hooves
P.O. Box 723

Carlsbad, CA 92018
619-500-4525

SOP Papers with Transmittal, via UPS Next Day Air , 1ZX212780123436061

C T Corporation System
208 LaSalle Ave

Suite 814

Chicago, IL 60604

866-539-8692
CorporationTeam@wolterskluwer.com

Page 1 of 1 / NK

Information displayed on thjs transmittal is for CT
Corporation's record keeping purposes only and is provided to
the recipient for quick refefence. This information does not
constitute a legal opinion aj to the nature of action, the
amount of damages, the an}wer date, or any information
contained in the documents themselves. Recipient is
responsible for interpreting|said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package pnly, not contegts.

PG. 42

 

 
 

es
Case 19,02556-LT7 Filed 03/31/20 Entered 04/01/20 13:41:50 Doc 22 Pg. 43 of 43

—_

PROOF OF SERVICE VIA FAX

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

At the time of service, I was over 18 years of age and not a party to this action. | am
employed in the County of Los Angeles, State of California. My business address is 445 South
Figueroa Street, 18th Floor, Los Angeles, CA 90071.

On March 31, 2020, I served true copies of the following document(s) described as
OPPOSITION OF RESPONDENT AURA FINANCIAL LLC TO DEBTOR’S MOTION
FOR SANCTIONS FOR VIOLATIONS OF THE AUTOMATIC STAY AND DISCHARGE
INJUNCTION; MEMORANDUM OF POINTS AND AUTHORITIES; AND
SUPPORTING DECLARATIONS OF KIMBERLY S. WINICK, RICARDO ARJONA,
AND TUONG-VI TRAN FABER on the interested parties in this action as follows:

eS FB KI Dn mem eye DH NY

George Costa Panagiotou, Esq. Attorney for Debtor, Bistmermu Mora Salgado
2404 Broadway

San Diego, CA 92102

Tel. No. (858) 300-0033

E-mail: panagiotouuci@aol.com

me mem
rn =-= &

Stephen A. Hoover, Esq. Attorney for Debtor, Bistmermu Mora Salgado
Law Office of Stephan A. Hoover

PO Box 723

Carlsbad, CA 92018-0723

Tel. No. (619) 500-4525

Fax No. (760) 687-0013

15 || E-mail: stephan@hooverlawsd.com

clark
trevithick
= &

16 BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a courtesy copy of the
document(s) to be sent from e-mail address msalazar@ClarkTrev.com to the persons at the e-mail
17 || addresses listed in the Service List. I did not receive, within a reasonable time after the
transmission, any electronic message or other indication that the transmission was unsuccessful.
18
BY CM/ECF NOTICE OF ELECTRONIC FILING: | electronically filed the

19 || document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case
who are registered CM/ECF users will be served by the CM/ECF system. Participants in the case
20 || who are not registered CM/ECF users will be served by mail or by other means permitted by the
court rules.

21
I declare under penalty of perjury under the laws of the United States of America that the
22 || foregoing is true and correct and that I am employed in the office of a member of the bar of this
Court at whose direction the service was made.

 

23
Executed on March 31, 2020, at Los Angeles, California.
24
25
/s/ Maria F. Salazar
26 Maria F. Salazar
27
28

2532902.1 (19112.001)

 

RESPONDENT AURA FINANCIAL’S OPPOSITION TO DEBTOR’S MOT FOR SANCTIONS FOR
VIOLATIONS OF THE AUTOMATIC STAY

 

 

 

 
